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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 R.T. WYNNE, Beneficiary                 of )
 Life Insurance of JOYCE                 M. )
 WYNNE, Deceased.                           )
                                            )
       Plaintiff,                           )
                                            )
 v.                                         )          No. 09-2001
                                            )
 STONEBRIDGE           LIFE       INSURANCE )
 COMPANY,                                   )
                                            )
       Defendant.                           )
                                            )


           ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


           On    November     24,    2008,     Plaintiff   R.T.    Wynne   filed     his

 Complaint against Defendant Stonebridge Life Insurance Company

 (“Stonebridge”)             in     the   Circuit     Court   of    Shelby       County,

 Tennessee, alleging breach of contract and bad faith.                         Defendant

 removed the case to this Court on January 2, 2009.                        Before the

 Court          is   Defendant’s      August    10,   2009,   Motion     for     Summary

 Judgment.           Plaintiff responded in opposition on September 9,

 2009, and Defendant replied on October 12, 2009.                      On November 9,

 2009,      Plaintiff        filed    a   response    to   Defendant’s     reply,    and

 Defendant filed a second reply on November 23, 2009.                           For the

 following reasons, Defendant’s motion is GRANTED.

      I.        Background
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         The following facts are undisputed unless otherwise stated.1

 The    Plaintiff    is    alleged   to   be   the    sole    beneficiary      of   the

 estate of his father, Joyce M. Wynne, who died on November 23,

 2002.        (Defendant’s     Statement       of    Undisputed       Facts    ¶    1.)

 (“Def.’s SOF”)           On January 2, 2003, Plaintiff completed and

 submitted a “proof of accidental death – affidavit of claimant”

 form    to   Stonebridge,     in    which     he    made    a     claim   under    two

 accidental      death       certificates       and        two     life     insurance

 certificates.       (Id. ¶ 3.)      By letter dated February 26, 2003, Al

 Vick, Senior Claims Examiner at Stonebridge, approved and paid

 life     benefits    to    Plaintiff     under      the     two    life    insurance

 certificates, 74L4073800 and 74L6171304, but denied Plaintiff’s

 claim for benefits under the two accidental death certificates,

 74A6938518 and 74AY993014.           (Id. ¶ 4.)        The letter stated that

 the information received by Stonebridge:

         does not indicate that your father’s death comes
         within the coverage terms of the accident certificates
         or accidental death benefit riders.      The certified
         Death Certificate shows your father’s death was due to
         vascular dementia due to multiple cerebrovascular
         accidents and shows his manner of death as natural . .
         . it appears your father’s death was not due to bodily
         injury   caused   by    an   accident,   directly  and
         independently of all other causes as required by the
         accident certificates and accidental death riders.

 (Id. (quoting Feb. 26, 2003 Letter, Dkt. No. 13, Ex. 2, 11.).)


 1
   Pursuant to Federal Rule of Civil Procedure 56, Defendant filed a Statement
 of Undisputed Material Facts in support of its Motion for Summary Judgment.
 Plaintiff’s response did not contain responses to Defendant’s undisputed
 facts, nor did it contain an additional statement of undisputed facts.

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       On April 7, 2003, Plaintiff’s counsel wrote a letter to

 Stonebridge, encouraging Stonebridge to reconsider its position

 and pay Plaintiff accidental death benefits.                   (Id. ¶ 5.)        By

 letter dated April 15, 2003, from Vick to Plaintiff’s counsel,

 Stonebridge      denied    the   claim   for   accidental      death    benefits.

 (Id. ¶ 6.)        In his letter, Vick cited the statement of the

 attending physician that the deceased’s death was not “due to

 injury”    and     again     recited     the   language     from       the    Death

 Certificate, stating that the deceased died because of “vascular

 dementia” and “multiple cerebrovascular accidents” and that his

 manner    of   death   was   natural.        (Id.   (quoting    April    7,    2003

 Letter, Dkt. No. 13, Ex. 2, 15.).)             The letter concluded, “Based

 upon the medical information in our file, Mr. Wynne’s death is

 not attributable to bodily injury directly and independently of

 all other causes and we are unable to provide benefits.”                      (Id.

 (quoting April 7, 2003 Letter, Dkt. No. 13, Ex. 2, 15.).)

       Each of the two accidental death certificates at issue in

 this case, 74A6938518 and 74AY993014, provides that “No action

 can be brought to recover on the policy for at least 60 days

 after written proof of loss has been furnished.                 No such action

 shall be brought more than 3 years after the date proof of loss

 is required.”      (Id. ¶ 7.)

       In November 2003, Plaintiff filed a wrongful death lawsuit

 against the nursing home charged with caring for Joyce M. Wynne.

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 That case was settled in February 2006.                   (Plaintiff’s Response

 to Motion for Summary Judgment 1.) (“Pl.’s Resp.”)                         Plaintiff

 alleges that Joyce Wynne “died from accidental and unnatural

 injuries of unknown origins; the death of Joyce M. Wynne was

 definitely         ‘from     injuries      from    accidental    bodily     injuries

 received while insured under this policy,’ as defined in the

 defendant’s policy.”              (Compl. ¶ 3.)       Plaintiff further alleges

 that “the Defendant, after reviewing the death certificate as

 issued by the physician for the residence of the deceased and

 the Police report of the injuries declined and refused to pay

 these to the plaintiff.”                (Compl. ¶ 6.)    Plaintiff asserts that

 Defendant      relied        on   the     Death    Certificate    issued      by        the

 physician for the nursing home and “refused to perform a good

 faith or an independent investigation or honor the accidental

 provisions of the policy.”               (Pl.’s Resp. at 2.)

      II.   Jurisdiction and Choice of Law

         This Court has subject matter jurisdiction under 28 USC §

 1441(b) and 28 U.S.C. § 1332.               Plaintiff is a resident of Shelby

 County, Tennessee, and his deceased father was also a resident

 of    Shelby       County,    Tennessee.          Defendant     Stonebridge        is    a

 corporation organized and existing under the laws of a state

 other than Tennessee with its principal place of business in a

 state      other    than     Tennessee.          Therefore,   complete     diversity

 exists.     The amount in controversy exceeds $75,000.

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        In diversity actions, a federal court applies the choice-

 of-law provisions of the state in which it sits.                    Erie R.R. Co.

 v. Tompkins, 304 U.S. 64 (1938); Klaxon Co. v. Stentor Elec.

 Mfg. Co., 313 U.S. 487, 496 (1941); Cole v. Mileti, 133 F.3d

 433, 437 (6th Cir. 1998).            Tennessee follows the rule of lex

 loci contractus, which provides that a contract is presumed to

 be governed by the law of the jurisdiction in which it was

 executed absent a contrary intent.               Vantage Tech., LLC v. Cross,

 17 S.W.3d 637, 650 (Tenn. Ct. App. 1999) (citing Ohio Cas. Ins.

 v. Travelers Indem. Co., 493 S.W.2d 465, 467 (Tenn. 1973)).                       The

 contract appears to have been executed in Tennessee, and the

 parties    assume    that    Tennessee        law   applies    to    the   contract

 dispute.     To     the    extent   Plaintiff       has    sought    relief     under

 Tennessee statutory law or common law, the parties assume that

 Tennessee law governs Plaintiff’s claims.                  See Erie, 304 U.S. at

 64 (directing federal courts to apply state law for state law

 claims).    Therefore, the Court will apply Tennessee substantive

 law.

    III. Standard of Review

        Federal Rule of Civil Procedure 56(c) provides that summary

 judgment    is    proper     “if    the       pleadings,    the     discovery     and

 disclosure materials on file, and any affidavits show that there

 is no genuine issue as to any material fact and that the movant

 is entitled to judgment as a matter of law.”                      Fed. R. Civ. P.

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 56(c).     The party moving for summary judgment “bears the burden

 of clearly and convincingly establishing the nonexistence of any

 genuine issue of material fact, and the evidence as well as all

 inferences       drawn       therefrom       must       be    read        in     a    light       most

 favorable to the party opposing the motion.”                              Kochins v. Linden-

 Alimak,    Inc.,       799       F.2d   1128,        1133    (6th        Cir.    1986).           When

 confronted        with       a    properly        supported             motion       for     summary

 judgment,       the    nonmoving        party     must       set    forth        specific      facts

 establishing that there is a genuine issue for trial by showing

 that a reasonable jury could return a verdict for the nonmoving

 party.         Anderson      v.    Liberty       Lobby,      Inc.,       477     U.S.      242,    248

 (1986).        The “mere existence of some alleged factual dispute

 between    the        parties      will   not        defeat        an    otherwise         properly

 supported motion for summary judgment.”                        Id. at 247-48.

         When    confronted         with      a       properly-supported               motion       for

 summary judgment, the nonmoving party may not oppose it by mere

 reliance on the pleadings.                 Celotex Corp. v. Catrett, 477 U.S.

 317, 324 (1986).                 Instead, the nonmoving party must present

 “concrete evidence supporting its claims and establishing the

 existence of a genuine issue of fact.”                        Cloverdale Equip. Co. v.

 Simon     Aerials,        Inc.,     869      F.2d      934,        937     (6th       Cir.     1989)

 (citations omitted).              The district court does not have a duty to

 search the record for this evidence; rather, the nonmovant has

 the duty to point out specific evidence in the record that would

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 be    sufficient      to    justify    a       jury   decision     in     his    favor.

 InterRoyal Corp. v. Sponseller, 889 F.2d 108, 111 (6th Cir.

 1989).

      IV.   Analysis

            A. Plaintiff’s breach of contract claims are barred by
               the three-year contractual limitations contained in
               the accidental death certificates.

        Defendant argues that Plaintiff’s breach of contract claims

 are    barred   by    the   three-year     contractual       limitations        periods

 contained in the accidental death certificates.                          (Defendant’s

 Motion for Summary Judgment 6.) (“Def.’s Motion”)                        Each of the

 two accidental death certificates, 74A6938518 and 74AY993014,

 provides, “No action can be brought to recover on the policy for

 at least 60 days after written proof of loss has been furnished.

 No such action shall be brought more than 3 years after the date

 proof of loss is required.”            (Def.’s SOF ¶ 7.)          The certificates

 further     provide,       “written    proof     of   loss   must       be   given    to

 [Stonebridge] within 90 days after the date of the loss or as

 soon as possible.”          (Id.)

        Under    Tennessee       law,    “an      insurance       policy      provision

 establishing an agreed limitations period within which suit may

 be filed against the company is valid and enforceable.”                            Brick

 Church Transmission, Inc. v. S. Pilot Ins. Co., 140 S.W.3d 324,

 329 (Tenn. Ct. App. 2003) (citations omitted); see also United

 States v. Republic Ins. Co., 775 F.2d 156, 160 (6th Cir. 1985)

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 (subrogation case holding that, pursuant to applicable Tennessee

 law, the federal government was bound to one-year contractual

 limitations     period        contained       in     insurance     policy    between

 subrogor and defendant); Algee v. State Farm Gen. Ins. Co., 890

 S.W.2d   445,    448    (Tenn.     Ct.    App.       1994)   (enforcing     one-year

 contractual limitations period contained in insurance policy);

 Hill v. Home Ins. Co., 125 S.W.2d 189, 192-93 (Tenn. Ct. App.

 1938) (same).         No showing of prejudice need be made by the

 insurer to enforce the agreed limitations period.                         See Brick

 Church, 140 S.W.3d at 334.

       The decedent died on November 23, 2002.                       The ninety-day

 period   ran    on    February    21,     2003.        Plaintiff    completed    and

 submitted a proof of accidental death – affidavit of claimant

 form to Stonebridge on January 2, 2003.                 The claim was denied on

 April 15, 2003.        The instant lawsuit was filed on November 24,

 2008, more than five years later.                  Therefore, Plaintiff’s breach

 of   contract        claims     are     clearly       outside      the    three-year

 contractual limitations period.

                 1. The three-year contractual limitation does not
                    violate public policy and is not unreasonable or
                    unenforceable in the instant suit.

       Plaintiff      argues     that     the       limitations   period     violates

 public policy and that there is a genuine issue of material fact

 about whether decedent was on notice of that period.                         (Pl.’s

 Resp. 4.)       “Tennessee has long held that an insurance policy

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 provision establishing an agreed limitations period within which

 suit may be filed against the company is valid and enforceable.”

 Brick Church, 140 S.W.3d at 329; Guthrie v. Conn. Indem. Ass’n,

 49 S.W. 829, 830 (Tenn. 1899); cf. 18 Tenn. Jur. Limitation of

 Actions § 26 (2005) (noting that, under Tennessee law, parties

 “may lawfully limit the time within which an action upon such

 contract may be brought”).                Plaintiff has not cited, nor has the

 Court found, Tennessee case law that would distinguish this case

 from     the        many    Tennessee       cases       holding     that      contractual

 limitations periods are valid and enforceable.

        Plaintiff argues that contractual time provisions “must be

 reasonable,” Appel v. Cooper Ins. Co., 80 N.E. 955, 958 (Ohio

 1907), and that “due to the health of the insured and his mental

 capacity       at    the    time    and   the       other    ensuing    litigation    that

 followed, this claim should not be time-barred.”                           (Pl.’s Resp.

 4.)      Plaintiff          further       argues      that     “[t]he    circumstances,

 details, interpretation, and intentions of the parties are of

 tantamount importance in all contract actions.”                            (Plaintiff’s

 Reply to Defendant’s Response 2.) (“Pl.’s Sur-reply”)                          Plaintiff

 argues    that       Defendant      has    the       burden    of   showing    that    the

 Plaintiff       had        actual    knowledge         and    understanding      of    the

 limitations period when the contract was signed.                           (Pl.’s Resp.

 4.)



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       Neither      general   contract        law   nor    Tennessee   case   law

 supports Plaintiff’s argument.               “Parties are presumed to know

 the force and effect of the language in which they have chosen

 to embody their contracts.”             Calderon v. Atlas S.S. Co., 170

 U.S. 272, 280 (1898).         “Parties are presumed to have known what

 they were signing.”          NLRB v. Indus. Towel & Unif. Serv., 473

 F.2d 1258, 1260 (6th Cir. 1973) (per curiam) (citing NLRB v.

 Gissel Packing Co., 395 U.S. 575, 606 (1969)).                    When a party

 “fails to read the contract or otherwise to learn its contents,

 he signs the same at his peril and is estopped to deny his

 obligation, will be conclusively presumed to know the contents

 of the contract, and must suffer the consequences of his own

 negligence.”       Pyburn v. Bill Heard Chevrolet, 63 S.W.3d 351, 359

 (Tenn. Ct. App. 2001).        “It will not do, for a man to enter into

 a contract, and, when called upon to respond to its obligations,

 to say that he did not read it when he signed it, or did not

 know what it contained.”          Giles v. Allstate Ins. Co., 871 S.W.2d

 154, 157 (Tenn. Ct. App. 1993) (citation and internal quotation

 marks omitted).       If such behavior were allowed, “contracts would

 not   be   worth    the   paper    on   which      they   are   written.”    Id.

 (citation omitted).

       Plaintiff argues that, because the decedent had dementia

 and was diagnosed with Alzheimer’s, there are material issues of

 fact about whether the contracts and their limitations clauses

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 should be enforced.          (Pl.’s Resp. 4.)        To be of unsound mind,

 Tennessee law requires that one be “incapable of attending to

 any   business,    or   of    taking   care   of     [himself].”      Smith    v.

 Grumman-Olsen Corp., 913 F. Supp. 1077, 1085 (E.D. Tenn. 1995)

 (citation omitted).       “[U]nder Tennessee law, the plaintiff bears

 the burden of proving the injured party was of unsound mind

 during the entire time in question.”                Wade v. Knoxville Utils.

 Bd., 259 F.3d 452, 461 n.5 (6th Cir. 2001).

       Plaintiff is the party in interest in this litigation.                   He

 was responsible for bringing and conducting this suit after the

 death of his father.          Plaintiff makes no argument that he was

 unaware of the contractual limitations period or that he was

 incapacitated.          Plaintiff      clearly      had   knowledge    of     the

 certificates themselves because, on or about January 2, 2003, he

 completed and submitted the proper form to Stonebridge, in which

 he made a claim under the two accidental death certificates.

 Plaintiff’s arguments about whether he should be bound by the

 terms of the certificates are not well taken.               He should not be

 excused from complying with the terms of the accidental death

 certificates under which he made claims within two months after

 his father’s death.       For these reasons, the Court finds no merit

 in Plaintiff’s argument that the contractual limitations violate

 Tennessee    public     policy   or    that   the    three-year    limitations

 period is unreasonable or unenforceable.

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                   2. Plaintiff’s suit against the nursing home did not
                      toll   the   contractual    limitations  of   the
                      accidental death certificates.

        Plaintiff argues that, when he settled his case with the

 nursing    home     in    February,     2006,    Stonebridge    was   no    longer

 entitled     to    rely   on    his   father’s    Death   Certificate      and   the

 limitations period began to run.                    (Plaintiff’s Response to

 Defendant’s Reply 3.) (“Pl.’s Sur-reply”)                  Tennessee case law

 does not support Plaintiff’s argument.

        In Hill v. Home Insurance Company, the plaintiff filed suit

 against her home insurer based on the insurer’s failure to pay

 for fire damage to a dwelling.                 125 S.W.2d at 190.       The claim

 was denied on February 12, 1934, on the basis that plaintiff was

 “not   the    sole    and      absolute   owner”    of    the   property.        Id.

 Plaintiff’s parents filed suit (the “Baxter suit”) against her

 on February 1, 1934, alleging that plaintiff was not the present

 owner of the property.            Id.     The Baxter suit was not resolved

 until April 1936, when the Tennessee Supreme Court held that

 title had passed to plaintiff, with a life estate reserved to

 her parents.       Id. at 191.        On June 24, 1936, despite a one-year

 contractual limitations period, plaintiff filed suit against her

 insurer for breach of contract and bad faith, contending that

 the pendency of the Baxter suit had tolled the running of the

 limitations period in the insurance policy.                Id. at 190-91.        The

 Tennessee Court of Appeals held that the Baxter suit did not

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 toll    the    contractual        limitations         period,         reasoning       that    the

 insurer       “was    not    a    party    to    the     Baxter        case,    and     had    no

 knowledge or information concerning that case, until after it

 had been instituted.”              Id. at 193.         The court noted “[t]here is

 not so much as a suggestion in the record that the defendant

 Insurance Company aided or abetted the institution, prosecution,

 or conduct of the Baxter case at any time.”                             Id.     Hill is not

 distinguishable from the pending case. Plaintiff’s argument that

 the pendency of the nursing home case tolled the limitations

 period is unpersuasive.2

        Plaintiff’s          response      to    Defendant’s           motion    for     summary

 judgment mentions fraud and mistake.                          To the extent Plaintiff

 refers to an alleged fraud or mistake by the attending physician

 or nursing home, as discussed above, such a fraud or mistake

 does    not    affect       the   running       of    the     contractual           limitations

 period.       To the extent Plaintiff seeks to accuse Defendant of

 fraud or mistake, neither the Complaint nor Plaintiff’s response

 does so directly.             Plaintiff has failed to meet his burden of

 pleading      these    allegations.             See    Fed.      R.   Civ.     P.    9(b)    (“In

 alleging fraud or mistake, a party must state with particularity

 the    circumstances         constituting        fraud      or    mistake.”);         see    also

 2
   This holding is consistent with Tennessee’s rejection of the nonmutual
 offensive use of collateral estoppel. See Trinity Indus., Inc. v. McKinnon
 Bridge Co., 77 S.W.3d 159, 185 (Tenn. Ct. App. 2001). Thus, any ruling by
 the court in the nursing home case about whether Joyce Wynne’s death was an
 accident (had such a finding been made) would not bind Stonebridge in the
 instant case.

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 Sanderson v. HCA-The Healthcare Co., 447 F.3d 873, 877 (6th Cir.

 2006) (“Rule 9(b) requires that the plaintiff specify the ‘who,

 what, when, where, and how’ of the alleged fraud.”) (citation

 omitted).

                3. The   language        of    the      accidental   death
                   certificates          is     not        ambiguous    or
                   contradictory.

       Plaintiff      argues     that,    because       the   language      of    the

 accidental death certificates is unclear, Tennessee’s six-year

 statute of limitations, as opposed to the three-year contractual

 limitations, should control.            (Pl.’s Resp. 7.)         Plaintiff cites

 the “PROOF OF LOSS” language in the certificates, which states:

 “Written proof of loss must be given to [Stonebridge] within 90

 days after the date of loss or as soon as possible.                    Proof must,

 however, be furnished no later than one year from the time it is

 otherwise required.”           (Def.’s SOF ¶ 7.) Plaintiff argues that,

 based on this language, it is reasonable to conclude that, in

 this situation, “as soon as possible” meant after the conclusion

 of the dispute with the nursing home and that “there are mixed

 questions     of   law   and   fact   that   must    be    answered”     about   the

 language of the certificates.           (Pl.’s Resp. 7-8.)

       The language of the accidental death certificates is not

 ambiguous or contradictory.             Each states that proof must be

 given “within 90 days or as soon as possible.”                     (Def.’s SOF ¶

 7.)     The   certificates       further     provide      that   proof   must    “be

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 furnished no later than one year from the time it is otherwise

 required;    except      in   the   absence        of    legal       capacity.”           (Id.)

 Joyce Wynne died on November 23, 2002.                       (Compl. ¶¶ 3-4.)         On or

 about January 2, 2003, Plaintiff completed and submitted proof

 to   Stonebridge,      in     which     he     made      a     claim      under     the     two

 accidental death certificates at issue.                         Therefore, Plaintiff

 timely    submitted      written       proof      of    loss    as       required    by     the

 certificates.      He did so “as soon as possible” on January 2,

 2003, well within the ninety-day period.

       Ninety days after the date of decedent’s death was February

 21, 2003, which is the latest date the three-year contractual

 limitations period began to run pursuant to the language of the

 certificates.      See (Def.’s SOF ¶ 7 (“No such action shall be

 brought    more   than    3   years     after      the       date    proof     of   loss     is

 required.”).)      The one-year tolling period does not apply here

 because actual proof of loss was submitted during the ninety-day

 claim period.         Therefore, the limitations period expired not

 later than February 21, 2006.3               The instant lawsuit was filed on

 November    24,   2008      and   is    clearly        barred       by   the   contractual

 limitations period.




 3
   Even if the tolling provisions of the proof of loss clause were applicable,
 thus giving Plaintiff the initial ninety days plus one year before proof-of-
 loss was required, the contractual limitations period would have begun to run
 not later than February 21, 2004, more than four years before the instant
 suit was filed.

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         Plaintiff’s         argument       that       the     “as      soon    as        possible”

 language       of     the    accidental           death       certificates           makes      the

 certificates ambiguous is not well taken.                            The language “as soon

 as possible” is designed to rescue a claimant whose claim would

 otherwise be barred because it was impossible to submit written

 proof    of    loss     within       the    normal          ninety-day        window.          This

 interpretation is confirmed by the second sentence of the proof-

 of-loss       clause,       which     provides,             “Proof     must,       however,      be

 furnished no later than one year from the time it is otherwise

 required.”          Proof of loss is “otherwise required” within ninety

 days of loss and must, under all circumstances, be submitted

 within one year of the expiration of the initial ninety-day

 period.       The language is unambiguous and is the only reasonable

 way to interpret or give effect to these two sentences.                                         See

 Maggart v. Almany Realtors, Inc., 259 S.W.3d 700, 704 (Tenn.

 2008) (the interpretation of a contract “should be one that

 gives reasonable meaning to all of the provisions . . . without

 rendering      portions       of     it     neutralized          or        without       effect.”)

 (citation      omitted).            The    Court       should        not    “use     a    strained

 construction of the language to find an ambiguity where none

 exists.”        Id.    (citation omitted).                   Plaintiff has offered no

 contrary reasonable interpretation of the certificates’ language

 and     initially       complied          with        the     clear        language       of    the

 certificates, submitting proof of loss only forty days after the

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 death of his father.         Therefore, the language of the accidental

 death     certificates       is     unambiguous          and     the       contractual

 limitations period controls.

           B. Bad faith claims

         Plaintiff’s    Complaint     alleges      that    Defendant        denied     his

 claims in bad faith.            (Compl. ¶ 1.)            It does not state any

 further factual or legal basis for that allegation.                        “Tennessee

 does not recognize a general common law tort for bad faith by an

 insurer against an insured; the exclusive remedy is statutory.”

 Cracker Barrel Old Country Store, Inc. v. Cincinnati Ins. Co.,

 590 F. Supp. 2d 970, 972 (M.D. Tenn. 2008) (citations omitted).

 Therefore, any claims of bad faith must be brought pursuant to

 Tennessee’s bad faith statute, Tennessee Code Annotated § 56-7-

 105.

         To recover under the statute, a plaintiff must prove, inter

 alia,    that   a   formal   demand       for    payment       was    made,    and    the

 plaintiff “must have waited 60 days after making demand before

 filing suit (unless there was a refusal to pay prior to the

 expiration of the 60 days) . . . .”                Ginn v. Am. Heritage Life

 Ins.     Co.,   173    S.W.3d      433,    443     (Tenn.       Ct.     App.    2004).

 Stonebridge denied Plaintiff’s claim by letter dated April 15,

 2003.      At   that   point,     Plaintiff     was   entitled        to   bring     suit

 against Stonebridge pursuant to the bad faith statute.



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         Tennessee Code Annotated § 28-3-104(a)(4) provides a one-

 year statute of limitations period applicable to “actions for

 statutory penalties.”      The bad faith statute is penal in nature.

 See Ginn, 173 S.W.3d at 443.          Plaintiff was entitled to bring

 his suit on April 15, 2003. He waited more than five years.

 Therefore, the statute of limitations has run as to any bad

 faith claims, and Defendant’s motion for summary judgment on

 those claims is GRANTED.       See Tenn. Code Ann. § 28-3-104(a)(4).

    V.     Conclusion

         For the foregoing reasons, Defendant’s motion for summary

 judgment is GRANTED.


         So ordered this 22nd day of February, 2010.


                                           s/ Samuel H. Mays, Jr.
                                           SAMUEL H. MAYS, JR.
                                           UNITED STATES DISTRICT JUDGE




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